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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No: 21-cv-22001-BB

MIGUEL ALFONSO SARMIENTO LOPEZ,
as Personal Representative of the Estate of
MIGUEL ANGEL SARMIENTO BENEGAS,

Plaintiff,
v.

CMI LEISURE MANAGEMENT, INC.
and CRUISE MANAGEMENT
INTERNATIONAL, INC.,

Defendants.
/

DEFENDANT CRUISE MANAGEMENT INTERNATIONAL, INC.’s
ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S
SECOND AMENDED COMPLAINT

Defendant, CRUISE MANAGEMENT INTERNATIONAL, INC.
(“Defendant”), by and through the undersigned attorneys, files its answer to

Plaintiffs Second Amended Complaint [D.E. 40] and asserts its affirmative defenses

as follows:
GENERAL ALLEGATIONS
Ig Denied.
2. Admitted that MIGUEL ANGEL SARMIENTO BANEGAS was a

citizen of Honduras working onboard the World Odyssey as an Assistant Cook,
which was owned pro hac vice by the Institute for Shipboard Education.

o Unknown, therefore denied.

4. For purposes of this litigation only, Defendant admits only that it is a

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Florida Corporation with an office in the State of Florida, and is subject to the

jurisdiction of this Court. However, denied that venue is proper as the Decedent’s

Employment Contract calls for the matter to be litigated in The Bahamas. All
remaining allegations in paragraph 4 are denied.

5. For purposes of this litigation only, Defendant admits only that it is a
Florida Corporation with an office in the State of Florida, and is subject to the
jurisdiction of this Court. However, denied that venue is proper as the Decedent’s
Employment Contract calls for the matter to be litigated in The Bahamas. All

remaining allegations in paragraph 5 are denied.

6. Denied.
b. Status of the Parties
7. Unknown, therefore denied.
8. Unknown, therefore denied.
2 Denied.
10. Denied.
11. Admitted that ISE was the owner pro hac vice of the World Odyssey,

which it used for the Semester at Sea program. All remaining allegations are

denied.
12. Denied.
13. Denied.
d. The Underlying Incident
14. Admitted that on or about August 28, 2019, Decedent underwent a

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Pre-Sea and Periodic Medical Fitness Examination and was found to be fit for look
out duty and fit for service, without restrictions. The remainder of allegations in
paragraph 14 are denied.

15. Admitted that Sarmiento exhibited symptoms while working onboard
the World Odyssey in November 2019. All remaining allegations are denied.

16. Denied.

17. Denied.

COUNT I
JONES ACT CLAIM AGAINST CMI-L FOR NEGLIGENT FAILURE
TO PROVIDE PROMPT, ADEQUATE AND APPROPRIATE MEDICAL
CARE

Count I is not directed to CRUISE MANAGEMENT INTERNATIONAL, INC.
and therefore no response is necessary. To the extent a response is required,
CRUISE MANAGEMENT INTERNATIONAL, INC. denies each and every
allegation in Paragraphs 18 through 32 in Count I of Plaintiffs Amended

Complaint, including all subparts.

COUNT II

CLAIM AGAINST CMI-L UNDER GENERAL MARITIME LAW AND DOHSA
FOR FAILURE TO PROVIDE PROMPT, ADEQUATE AND PROPER
MEDICAL CARE

Count II is not directed to CRUISE MANAGEMENT INTERNATIONAL,
INC. and therefore no response is necessary. To the extent a response is required,
CRUISE MANAGEMENT INTERNATIONAL, INC. denies each and _ every
allegation in Paragraphs 33 through 43 in Count II of Plaintiffs Amended

Complaint, including all subparts.

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COUNT III

VICARIOUS LIABILITY CLAIM AGAINST CMI INC UNDER THE
GENERAL MARITIME LAW FOR NEGLIGENCE IN THE TREATMENT OF
DECEDENT

44. Defendant re-alleges and re-adopts each of its responses to Paragraphs

1 through 17 above as if fully set forth herein.
45. Denied.
46. Denied.

47. Denied, including all subparagraphs (a) through (s).

48. Denied.
49. Denied.
50. Denied.
51. Denied.
52. Denied.
53. Denied.

Wherefore clause—Denied.

COUNT IV
CMI INC’S OWN DIRECT NEGLIGENCE

54. Defendant re-alleges and re-adopts each of its responses to Paragraphs

1 through 17 above as if fully set forth herein.

55. Denied.

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56.

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Denied.
Denied, including all subparagraphs (a) through (j).
Denied.
Denied.
Denied.
Denied.

Denied.

Wherefore clause—Denied.

AFFIRMATIVE DEFENSES

As separate and complete defenses, based on information and _ belief,

Defendant states as follows:

First Affirmative Defense

Plaintiffs’ Second Amended Complaint fails to state a cause of action upon

which relief may be granted for Vicarious Liability and Direct Negligence, and

therefore, should be dismissed with prejudice.

Second Affirmative Defense

Plaintiff is not entitled to recover damages to the extent they were caused by

actions of Decedent.

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Third Affirmative Defense

There is no cause of action as Defendant did not create or maintain any
dangerous or defective condition, and had no actual or constructive notice of any

dangerous conditions,

Fourth Affirmative Defense

To the extent any damages are recoverable by Plaintiff they are limited to

pecuniary losses only.

Fifth Affirmative Defense

This action is governed by Bahamian law pursuant to the Decedent’s
employment Contract.
Sixth Affirmative Defense
Defendant is entitled to a set-off for the value of benefits paid or payable to or
on behalf of Plaintiff or Decedent from any collateral source.

Seventh Affirmative Defense

Plaintiffs claims are subject to, and any damages are limited in accordance
with, the terms and conditions of Decedent Sarmiento’s contract(s) of employment,
and any collective bargaining agreement incorporated therein, and Defendant
reserves all rights under such contracts.

Eighth Affirmative Defense

Plaintiff and/or the estate’s alleged beneficiaries and/or the decedent’s alleged

dependents have failed to mitigate their damages.

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Ninth Affirmative Defense

Defendant alleges that Plaintiffs damages were caused either in whole or in
part by Decedent’s own negligent acts or omissions, and that such negligent acts
and/or omissions, including but not limited to the failure to exercise reasonable care
for his own safety, were the sole and proximate cause of any and all injuries or
damages as alleged in the Amended Complaint, and as such, the Plaintiff's right to
recovery is either barred or, without admitting liability, an award, if any, shall be
reduced pursuant to the doctrine of Comparative Negligence.

Tenth Affirmative Defense

Defendant alleges without admitting liability that Plaintiffs damages were
caused either in whole or in part by the acts and/or omissions of third persons, for
whom Defendant is not responsible and that amounts to a superseding cause that
cuts off any causal connection between Defendant’s alleged negligence, if any, and
Plaintiffs injuries.

Eleventh Affirmative Defense

Defendant alleges that no dangerous condition existed that caused or
contributed to Plaintiffs alleged incident. Alternatively, if the dangerous condition
described in Plaintiffs Complaint did exist, Defendant alleges the Decedent failed to
observe an open and obvious condition; and it was the negligence of the Decedent in

failing to use his own senses, which gave rise to the alleged accident and any

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alleged injury arising there from, and therefore Plaintiff cannot recover for the

alleged accident

Twelfth Affirmative Defense

Defendant alleges there is no cause of action as Defendant had no actual or
constructive notice of any dangerous condition(s). Moreover, as Defendant had no
actual or constructive notice of any dangerous condition, Defendant had no duty to
warn.

Thirteenth Affirmative Defense

Defendant alleges without admitting liability, upon information and belief
that the injuries alleged by the Plaintiff in the Second Amended Complaint were
pre-existing. Therefore, Defendant cannot be held liable for such injuries and/or
medical conditions, as they would have been inevitably worsened. Alternatively, if
Decedent was injured as alleged, such injuries extend only to an aggravation of the
pre-existing conditions.

Fourteenth Affirmative Defense

Defendant alleges without admitting liability, that it is entitled to a set-off
for any and all monies paid on behalf of Plaintiff and/or the Decedent and/or the
Decedent’s estate towards Decedent’s treatment and/or medical care as well as any
monies received from collateral sources for the damages alleged in the Second

Amended Complaint.

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Fifteenth Affirmative Defense

Defendant alleges, without admitting liability, that upon information and
belief, Plaintiff and/or the Estate and/or the decedent’s alleged dependents failed to
mitigate their damages, and therefore, any damages awarded should be reduced
accordingly.

Sixteenth Affirmative Defense

Defendant alleges that upon information and belief Decedent failed to seek
timely and/or appropriate medical treatment for the injuries/illness alleged in the
Second Amended Complaint, which failure exacerbated any injury/illness and any
damages award must be reduced accordingly

Seventeenth Affirmative Defense

Defendant alleges, without admitting liability, that the liability of non-party
tortfeasors should be considered by this Court and the percentage of fault attributed
to such non-party tortfeasors be considered when apportioning damages.

Eighteenth Affirmative Defense

Defendant alleges that there is no cause of action, as Defendant did not
employ the medical staff.

Nineteenth Affirmative Defense

Defendant alleges that the Decedent expressly and/or impliedly assumed the
risk involved in the alleged condition, knew or should have known of the danger

complained of in the Second Amended Complaint, realized and appreciated the

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possibility of illness as a result of the dangers, and having reasonable opportunity

to avoid them, voluntarily exposed himself to the dangers, and therefore Defendant

is not liable.

Defendant, CRUISE MANAGEMENT INTERNATIONAL, INC. reserves the
right to amend its Affirmative Defenses as more facts become known through the
course and scope of discovery.

WHEREFORE, Defendant, CRUISE MANAGEMENT INTERNATIONAL,
INC. demands this Honorable Court dismiss this action with prejudice and enter
judgment in its favor, awarding costs and such other and further relief this Court
deems just and proper.

Respectfully Submitted,

/s/ William F. Clatr

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on November 238, 2021, I electronically filed the
foregoing document with the Clerk of the Court using CM/ECF. I also certify that the
foregoing is being served this day on all counsel of record or pro se parties identified
on the attached Service List in the manner specified, either via transmission of
Notices of Electronic Filing generated by CM/ECF or in some other authorized
manner for those counsel or parties who are not authorized to receive electronically

notices of Electronic Filing.

/s/ William F. Clair
William F. Clair, Esq.

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